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  July 30, 2020

  VIA ELECTRONIC FILING
  Honorable Madeline Cox Arleo, U.S.D.J.
  United States District Court
  Martin Luther King Jr. Federal Courthouse
  50 Walnut Street
  Newark, New Jersey 07101

          RE:      N.V.E., Inc. v. Palmeroni, et al.
                   Civil Action No. 2:06-cv-05455

  Dear Judge Arleo:

         On April 29, 2020, NVE filed a motion to take the de bene esse depositions of Richard
  Horowitz and Carlos Bengoa. On May 14, 2020, Magistrate Judge Wettre granted that motion.
  (Dkt. No. 764). The parties completed Mr. Horowitz’s deposition on June 1 and Mr. Bengoa’s on
  June 10.

          During those depositions, Defendants asked many inappropriate or otherwise
  objectionable questions and repeatedly inquired about issues that were not proper subjects of
  cross-examination. In particular, both defendants asked questions that violated Your Honor’s
  ruling on NVE’s motion in limine which excluded certain issues from the trial. For example,
  Jesus Palmeroni asked Mr. Horowitz several questions about a trademark infringement lawsuit
  against NVE despite the fact that Your Honor explicitly excluded that issue from the trial. (See
  January 27, 2020 Order, p. 1, Dkt. No. 750).

         We write to request guidance on how we should seek a ruling from the Court on which
  sections of the deposition should be excluded from the video recordings that will be shown to
  the jury in this matter. NVE can provide full copies of the transcripts and video recordings or
  simply provide the sections to which we have objections. In addition, NVE could provide page
  and line references to the sections that we are seeking to exclude along with the bases for our
  objections to those sections.




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          We have a conference call with the Court on August 12, 2020 and thus we can discuss
  the matter during the call or we can file whatever the Court wishes in advance of that call.
  Please let us know how Your Honor wants us to proceed.

  Respectfully submitted,

  /s/ James W. Boyan III
  James W. Boyan III

  cc     Jesus Palmeroni (via ECF and e-mail)
         Vincent Rosarbo (via ECF and e-mail)
